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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE

                                               )
STEPHEN BRENNAN,
                                               )
                                               )
                 Plaintiff                     )
                                               )
v.                                             )
                                                     Civil Action No. 2:20-cv-00368-DBH
                                               )
                                               )
JONATHAN ROGERS and
                                               )
THE TOWN OF YORK,MAINE
                                               )
                                               )
               Defendants                      )

     DEFENDANTS JONATHAN ROGERS AND THE TOWN OF YORK, MAINE’S
          ANSWER TO COMPLAINT AND DEMAND FOR JURY TRIAL

       NOW COME Jonathan Rogers and the Town of York, Maine, by and through their

attorneys, and respond to Plaintiff’s Complaint as follows:

                                   NATURE OF THE CASE

       I.      Defendants deny the allegations of this paragraph of the Complaint.

                                JURISDICTION AND VENUE

       II.     This paragraph states a legal conclusion to which no response is required.

                                           PARTIES

       1.      Defendants admit the allegations of this paragraph of the Complaint.

       2.      Defendants admit the allegations of this paragraph of the Complaint.

       3.      Defendants admit the allegations of this paragraph of the Complaint.

                             FACTS COMMON TO ALL COUNTS

       4.      Defendants admit the allegations of this paragraph of the Complaint.

       5.      Defendants are without sufficient information to either admit or deny the

allegations in this paragraph and therefore deny same.
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       6.      Defendants are without sufficient information to either admit or deny the

allegations in this paragraph and therefore deny same.

       7.      Defendants are without sufficient information to either admit or deny the

allegations in this paragraph and therefore deny same.

       8.      Defendants admit that Plaintiff turned his high beams on and off as he approached

Officer Rogers’ cruiser, but are without knowledge as to his intentions or reasons for doing so,

and therefore deny the remainder of this paragraph.

       9.      Defendants admit that the southbound vehicle was a police cruiser driven by

Officer Rogers, but are without knowledge as to whether Plaintiff knew that it was a York Police

Department vehicle, and therefore deny the remainder of this paragraph.

       10.     Defendants admit that Officer Rogers made a U-turn in his vehicle after Plaintiff’s

vehicle passed by, but deny that this maneuver put him directly behind Plaintiff’s vehicle, as

Plaintiff had continued northbound and was some distance down the road by the time Officer

Rogers got his cruiser positioned in the northbound lane.

       11.     Defendants admit that Plaintiff pulled his vehicle over to the right side of Route 1

before Officer Rogers activated his blue lights, but deny the implication that Officer Rogers was

close behind Plaintiff’s vehicle when he did so.

       12.     Defendants admit that Plaintiff exited his vehicle and started walking toward

Officer Rogers’ cruiser before it had even come to a stop, but are without knowledge regarding

whether Plaintiff is familiar with other officers of the York Police Department and therefore

deny same.

       13.     Defendants admit that Plaintiff, upon exiting his vehicle, began immediately and

purposefully walking toward Officer Rogers, but deny this was done in a non-threatening

manner.


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          14.     Defendants admit that Officer Rogers drew his service weapon as Plaintiff walked

toward him and ignored commands to stop.

          15.     Defendants admit the Officer Rogers had a K-9 in his cruiser and that the dog

began barking, but deny that this would have made it difficult for Plaintiff to hear commands

being shouted at him by Officer Rogers, who was out of the cruiser and only a short distance

from Plaintiff.

          16.     Defendants deny that Plaintiff immediately put his hands up when ordered to do

so, but admit that he eventually put his hands up for a time, before putting them back down

again. Defendants admit that, even after putting his hands up, Plaintiff continued to walk toward

Officer Rogers, ignoring commands to stop. Defendants are without information regarding why

Plaintiff continued walking toward Officer Rogers, and therefore deny that it was simply to talk

to him.

          17.     Defendants deny that Plaintiff complied with commands that he stop, except

briefly after the fourth time Officer Rogers commanded him to stop.

          18.     Defendants admit that Plaintiff said “Who are you?” to Officer Rogers at one

point in the encounter, after initially asking “What’s wrong with you?” Defendants deny the

remainder of this paragraph of the Complaint.

          19.     Defendants admit that Officer Rogers did not identify himself in response to

Plaintiff’s question, because he was at that time shouting commands to Plaintiff to stop moving,

which Plaintiff was ignoring. Defendants deny the remainder of this paragraph of the Complaint.

          20.     Admit that Plaintiff made a dismissive gesture with his hand and began walking

back toward his car, in defiance of orders for him to stop.




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       21.     Defendants deny that Plaintiff complied with Officer Rogers’ commands to stop

moving. In response to one such command, which was given by Officer Rogers with his gun

drawn, Plaintiff responded by saying “Shoot me.”

       22.     Defendants admit that Officer Rogers warned Plaintiff that he would release the

K-9, after Plaintiff refused to obey commands to stop moving, and to turn around and put his

hands behind his back, and began aggressively walking toward Officer Rogers.

       23.     Defendants admit that Officer Rogers commanded Plaintiff to get on the ground,

but deny it was immediately following his warning that he would let the dog loose. After Officer

Rogers told Plaintiff to get on the ground, Plaintiff responded by putting his hands down and

saying “Come on,” and refusing commands to get on the ground.

       24.     Defendants deny the allegations of this paragraph of the Complaint.

       25.     Defendants admit that Officer Rogers eventually use the remote release to release

the K-9 from the cruiser, but deny that Plaintiff was complying with Officer Rogers’ commands

to turn around and get on the ground when he activated the release.

       26.     Defendants admit the allegations of this paragraph of the Complaint.

       27.     Defendants deny the allegations of this paragraph of the Complaint.

       28.     Defendants deny the allegations of this paragraph of the Complaint.

       29.     Defendants admit that, as he struggled to overcome Plaintiff’s resistance to being

taken into custody, Officer Rogers tried to roll Plaintiff onto his stomach so he could be

handcuffed and used an open hand strike to his face to try to get Plaintiff to stop resisting.

Defendants deny the remainder of this paragraph of the Complaint.

       30.     Defendants admit that, as he struggled to overcome Plaintiff’s resistance to being

taken into custody, Officer Rogers at one point used a knee strike to Plaintiff’s buttocks to try to

get Plaintiff to stop resisting. Defendants deny the remainder of this paragraph of the Complaint.


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        31.     Defendants admit that, in trying to get Plaintiff to roll over onto his stomach so he

could be handcuffed, which he was refusing to do, Officer Rogers used the command “get on the

ground” as he tried to roll Plaintiff over.

        32.     Defendants deny the allegations of this paragraph of the Complaint.

        33.     Defendants admit that the K-9 executed a “bite and hold,” as he is trained to do,

until Officer Rogers could get Plaintiff handcuffed and then get the dog to release. Defendants

deny the remainder of the allegations of this paragraph of the Complaint.

        34.     Defendants admit the allegations of this paragraph of the Complaint.

        35.     Defendants deny the allegations of this paragraph of the Complaint.

        36.     Defendants admit that Plaintiff was transported by York EMS to York Hospital to

receive treatment for his dog bites. Defendants are without sufficient information to admit or

deny Plaintiff’s employment status with York Hospital and therefore deny the remaining

allegations of this paragraph of the Complaint.

        37.     Defendants admit the allegations of this paragraph of the Complaint.

        38.     Defendants are without sufficient information to either admit or deny the

allegations of this paragraph of the Complaint and therefore deny same.

        39.     Defendants are without sufficient information to either admit or deny the

allegations of this paragraph of the Complaint and therefore deny same.

        40.     Defendants are without sufficient information to either admit or deny the

allegations of this paragraph of the Complaint and therefore deny same.

        41.     Defendants are without sufficient information to either admit or deny the

allegations of this paragraph of the Complaint and therefore deny same.

        42.     Defendants are without sufficient information to either admit or deny the

allegations of this paragraph of the Complaint and therefore deny same.


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       43.     Defendants deny that Plaintiff was assaulted by Officer Rogers and the K-9.

Defendants are without sufficient information to either admit or deny the remaining allegations

of this paragraph of the Complaint and therefore deny same.

       44.     Defendants are without sufficient information to either admit or deny the

allegations of this paragraph of the Complaint and therefore deny same.

       45.     Defendants are without sufficient information to either admit or deny the

allegations of this paragraph of the Complaint and therefore deny same.

       46.     Defendants are without sufficient information to either admit or deny the

allegations of this paragraph of the Complaint and therefore deny same.

       47.     Defendants are without sufficient information to either admit or deny the

allegations of this paragraph of the Complaint and therefore deny same.

       48.     Defendants admit the allegations of this paragraph of the Complaint.

       49.     Defendants admit the allegations of this paragraph of the Complaint.

                        COUNT I – 42 U.S.C. § 1983 – Excessive Force
                             (Defendant Jonathan Rodgers)

       50.     Defendants repeat and reallege their responses contained in paragraphs 1 through

49 herein.

       51.     Defendants deny the allegations of this paragraph of the Complaint.

       52.     Defendants admit that Officer Rogers acted under color of law, but deny that he

acted as related in this Complaint.

       53.     Defendants deny the allegations of this paragraph of the Complaint.

       54.     Defendants deny the allegations of this paragraph of the Complaint.

       55.     Defendants deny the allegations of this paragraph of the Complaint.




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                       COUNT II – 42 U.S.C. § 1983 – Unlawful Seizure
                             (Defendant Jonathan Rodgers)

       56.     Defendants repeat and reallege their responses contained in paragraphs 1 through

55 herein.

       57.     Defendants deny the allegations of this paragraph of the Complaint.

       58.     Defendants admit that Officer Rogers acted under color of law, but deny that he

acted as related in this Complaint.

       59.     Defendants deny the allegations of this paragraph of the Complaint.

                                 COUNT III – 42 U.S.C. § 1983
                                  (Defendant Town of York)

       60.     Defendants repeat and reallege their responses contained in paragraphs 1 through

59 herein.

       61.     Defendants deny the allegations of this paragraph of the Complaint.

       62.     Defendants deny the allegations of this paragraph of the Complaint.

       63.     Defendants deny the allegations of this paragraph of the Complaint.

       64.     Defendants deny the allegations of this paragraph of the Complaint.

       65.     Defendants deny the allegations of this paragraph of the Complaint.

       66.     Defendants deny the allegations of this paragraph of the Complaint.

       67.     Defendants deny the allegations of this paragraph of the Complaint.

                     COUNT IV – Excessive Force – Assault and Battery
                             Supplemental State Law Action
                     (Defendants Jonathan Rodgers and Town of York)

       68.     Defendants repeat and reallege their responses contained in paragraphs 1 through

67 herein.

       69.     Defendants deny the allegations of this paragraph of the Complaint.

       70.     Defendants deny the allegations of this paragraph of the Complaint.


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       71.     Defendants admit that Officer Rogers acted in the course of his employment with

the Town of York, but deny that the town can be vicariously liable for his actions under state

law, due to the immunity provisions of the Maine Tort Claims Act.

       72.     Defendants deny the allegations of this paragraph of the Complaint.

                              COUNT V – Unlawful Arrest
                             Supplemental State Law Action
                     (Defendants Jonathan Rodgers and Town of York)

       73.     Defendants repeat and reallege their responses contained in paragraphs 1 through

72 herein.

       74.     Defendants deny the allegations of this paragraph of the Complaint.

       75.     Defendants admit that Officer Rogers acted in the course of his employment with

the Town of York, but deny that the town can be vicariously liable for his actions under state

law, due to the immunity provisions of the Maine Tort Claims Act.

       76.     Defendants deny the allegations of this paragraph of the Complaint.

                                  COUNT VI – Negligence
                      (Defendants Jonathan Rodgers and Town of York)

       77.     Defendants repeat and reallege their responses contained in paragraphs 1 through

76 herein.

       78.     Defendants admit the allegations of this paragraph of the Complaint.

       79.     Defendants admit the allegations of this paragraph of the Complaint.

       80.     Defendants deny the allegations of this paragraph of the Complaint.

       81.     Defendants deny the allegations of this paragraph of the Complaint.

             COUNT VII – VIOLATION OF THEMAINE CIVIL RIGHTS ACT

       82.     Defendants repeat and reallege their responses contained in paragraphs 1 through

81 herein.

       83.     Defendants deny the allegations of this paragraph of the Complaint.

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        84.     Defendants deny the allegations of this paragraph of the Complaint.

        WHEREFORE, Defendants Jonathan Rogers and the Town of York respectfully request

that Plaintiff’s Complaint be dismissed and that they be awarded their costs of suit and such

other relief as the Court deems just and appropriate.

                                         JURY DEMAND

        Defendants Jonathan Rodgers and the Town of York hereby demand a trial by jury

pursuant to F.R.Civ.P.38(b).

                                  AFFIRMATIVE DEFENSES

        1.      Defendants affirmatively defend by stating that Plaintiff’s Complaint fails to state

a claim upon which relief may be granted.

        2.      Defendants affirmatively defend by stating that Plaintiff’s Complaint is barred by

the statute of limitations.

        3.      Defendants affirmatively defend by stating that their conduct was privileged.

        4.      Defendants affirmatively defend by stating that Plaintiff has failed to mitigate his

own damages.

        5.      Defendants affirmatively defend by stating any state law tort claims are barred

for Plaintiff’s failure to comply with the Maine Tort Claims Act, 14 M.R.S.A. § 8101, et seq.

        6.      Defendants affirmatively defend by stating that any state law tort claims are

barred by the immunity provisions of the Maine Tort Claims Act, 14 M.R.S.A. § 8101, et seq.

        7.      Defendants affirmatively defend by stating that Plaintiff’s claims are barred by

the doctrine of absolute immunity and/or qualified immunity.

        8.      If any of Defendants’ acts are found to have been unlawful and/or

unconstitutional, Defendants had no knowledge of such illegality or unconstitutionality at the

time of the alleged conduct and at all times were acting in good faith.


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       9.       Plaintiff’s arrest was based upon probable cause.

       10.      Defendants’ conduct did not rise to the level of a constitutional violation, but, at

most, amounts to a common law tort.

       12.      No clearly established rights of Plaintiff were violated by Defendants’ actions.

       13.      Any use of physical force against Plaintiff during his arrest was caused by

Plaintiff’s refusal to submit to arrest without the need for Officer Rogers to use physical force

against him to overcome his resistance to being taken into custody.

       15.      Plaintiff’s claims are barred by the doctrine of estoppel and/or preclusion.

       16.      The Town of York Police Department has no history of complaints alleging

unlawful arrest or the use of unreasonable force by its police officers that would have placed the

municipality on notice of alleged deficiencies in training, supervision, or discipline of its officers

regarding arrest powers and the lawful use of force, and Defendants specifically deny any such

deficiencies.

       17.      The Town of York Police Department has no history of complaints alleging

unlawful arrest by its police officers that would have placed the municipality on notice of alleged

deficiencies in policies, practices or standard operating procedures related to arrest powers and

the lawful use of force, and Defendants specifically deny any such deficiencies.

       18.      All training requirements imposed on York police officers by the Maine Criminal

Justice Academy regarding arrest and the lawful use of force were fully met by the municipal

Defendants and Defendant Rogers.

       19.      York police officers undergo additional training in the area of the lawful use of

force, including special training regarding the use of K-9’s, specifically, and such training had

been completed by Officer Rogers prior to the date of Plaintiff’s arrest.




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       20.       Defendants have not procured any policy of liability insurance that would waive

immunity or raise statutory damage limits for any claims pursued under state tort law.

       21.       Negligence on the part of Defendants, if any, was outweighed by the negligence

of Plaintiff, and any recovery is barred under Maine’s comparative negligence doctrine.

       22.       At all times while in the custody of the York Police Department, Plaintiff advised

police and EMS personnel that his insulin pump was working properly and that he was not

experiencing any side effects he would have expected to experience had his pump been

disconnected or become inoperable during his arrest.

       23.       Plaintiff was taken promptly to the hospital for medical treatment following his

arrest, and did not advise hospital personnel of any problems with his insulin pump, or otherwise

alert them to any problems he was experiencing with his

       24.       Any decisions to seek medical treatment, or not seek treatment, after Plaintiff was

released from custody were made entirely by Plaintiff, who is solely responsible for the results of

his decisions.


       Dated at Portland, Maine this 4th day of December, 2020.


                                                       /s/ Edward R. Benjamin, Jr.
                                                      Edward R. Benjamin, Jr., Esq.
                                                      Kasia S. Park, Esq.

                                                      Attorneys for Defendants

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                                 CERTIFICATE OF SERVICE

       I, Edward R. Benjamin, Jr., Esq. hereby certify that on December 4, 2020, I electronically

filed the foregoing Answer to Complaint and Demand for Jury Trial with the Clerk of Court

using the CM/ECF system which will send notification of such filings(s) to all parties of record.

                                                      /s/ Edward R. Benjamin, Jr.
                                                     Edward R. Benjamin, Jr., Esq.

                                                     Attorney for Defendants

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